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 1
     Todd M. Friedman (SBN 216752)
     Adrian R. Bacon (SBN 280332)
 2   LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 3   21550 Oxnard St., Suite 780
     Woodland Hills, CA 91367
 4
     Phone: 323-306-4234
 5   Fax: 866-633-0228
 6
     tfriedman@toddflaw.com
     abacon@toddflaw.com
 7

 8                      UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
 9

10   PAUL HAMMOND, individually and                        )     Case No. 2:19-cv-01234
     on behalf of all others similarly situated,           )
11
     Plaintiff,                                            )     NOTICE OF VOLUNTARY
12                                                         )     DISMISSAL OF
13
                                                           )     ENTIRE ACTION WITHOUT
     vs.                                                   )     PREJUDICE
14
                                                           )
15   WESTLAKE SERVICES, LLC d/b/a                          )
     WESTLAKE FINANCIAL SERVICES,                          )
16
     and DOES 1 through 10, inclusive, and                 )
17
     each of them,                                         )
18
                                                           )

19   Defendant.
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           ///
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                                       Notice of Dismissal - 1
     Case 2:19-cv-01234-PA-JEM Document 5 Filed 02/20/19 Page 2 of 3 Page ID #:21




 1

 2         NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
 3
     Civil Procedure 41(a)(1), hereby voluntarily dismisses this action without
 4

 5   prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
 6
     motion for summary judgment. Accordingly, this matter may be dismissed
 7

 8   without prejudice and without an Order of the Court.
 9
           Respectfully submitted this 20th Day of February, 2019.
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                                            By: /s/Todd M. Friedman Esq.
12                                               Todd M. Friedman
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                                              Attorney For Plaintiff
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                                      Notice of Dismissal - 2
     Case 2:19-cv-01234-PA-JEM Document 5 Filed 02/20/19 Page 3 of 3 Page ID #:22




 1                           CERTIFICATE OF SERVICE
 2
     Filed electronically on February 20, 2019, with:
 3

 4   United States District Court CM/ECF system
 5
     Notification sent electronically on February 20, 2019, to:
 6

 7
     To the Honorable Court, all parties and their Counsel of Record

 8

 9   /s/ Todd M. Friedman
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      Todd M. Friedman
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                                       Notice of Dismissal - 3
